Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 1 of 16 PageID 1
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 2 of 16 PageID 2
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 3 of 16 PageID 3
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 4 of 16 PageID 4
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 5 of 16 PageID 5
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 6 of 16 PageID 6
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 7 of 16 PageID 7
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 8 of 16 PageID 8
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 9 of 16 PageID 9
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 10 of 16 PageID 10
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 11 of 16 PageID 11
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 12 of 16 PageID 12
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 13 of 16 PageID 13
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 14 of 16 PageID 14
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 15 of 16 PageID 15
Case 3:09-cv-01060-HLA-HTS Document 1 Filed 10/26/09 Page 16 of 16 PageID 16
